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                           Exhibit 4
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ____________________________________
 AHARON MILLER, et al.                :
                                      :              Case No. 18-cv-2192 (BMC)(PK)
                    Plaintiffs,       :
                                      :
       -against-                      :
                                      :
 ARAB BANK, PLC,                      :
                                      :
                    Defendant.        :
 ____________________________________
 NATHAN PAM, et al.                   :
                                      :              Case No. 18-cv-4670 (BMC)(PK)
                    Plaintiffs,       :
                                      :
       -against-                      :
                                      :
 ARAB BANK, PLC,                      :
                                      :
                    Defendant.        :
 ____________________________________

                  PLAINTIFFS’ FIRST REQUEST FOR THE
         PRODUCTION OF DOCUMENTS TO DEFENDANT ARAB BANK, PLC

          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs hereby
 request that defendant Arab Bank, PLC (“Arab Bank” or “Defendant”) in the above-captioned
 litigation produce and permit Plaintiffs to inspect and copy all of the following documents and
 things which are in the possession, custody or control of Defendant, and/or Defendant’s agents or
 attorneys, within thirty (30) days following the date of service of these requests.

                                         DEFINITIONS

        1.     As used herein, the following terms are defined as indicated:

               a.      “Person” is synonymous with the definition contained in Local Rule 26.3 of
                       the Local Rules of the United States District Courts for the Southern and
                       Eastern Districts of New York (the “Local Rules”).

               b.      “Agent” shall mean any past or present director, officer, counsel,
                       shareholder, representative, consultant or employee of any person or entity
                       or any person who assisted or acted or purported to act or assist for or on
                       behalf of such person or entity.
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            c.    “Communication” is synonymous with the definition contained in Local
                  Rule 26.3 of the Local Rules.

            d.    “Meeting” means, without limitation, any assembly, convocation,
                  encounter or contemporaneous presence of two or more persons for any
                  purpose, whether planned, arranged, scheduled or not.

            e.    “Employee” means, without limitation, current and former officers,
                  directors, executives, managers, sales personnel, secretaries, clerical staff,
                  messengers, or any other person employed by Defendant or Defendant’s
                  agents.

            f.    “Document” is synonymous in meaning and equal in scope to the usage of
                  this term in Federal Rule of Civil Procedure 34(a), including, without
                  limitation, electronic or computerized data compilations. A draft or non-
                  identical copy is a separate document within the meaning of this term.

            g.    “Concerning” is synonymous with the definition contained in Local Rule
                  26.3 of the Local Rules.

            h.    “And/Or” is synonymous with the definition contained in Local Rule 26.3
                  of the Local Rules.

            i.    “All/Each” is synonymous with the definition contained in Local Rule 26.3
                  of the Local Rules.

            j.    “Number” is synonymous with the definition contained in Local Rule 26.3
                  of the Local Rules.

            k.    “Identify (with respect to persons)” is synonymous with the definition
                  contained in Local Rule 26.3 of the Local Rules.

            l.    “Identify (with respect to documents)” is synonymous with the definition
                  contained in Local Rule 26.3 of the Local Rules.

            m.    “Arab Bank” means Arab Bank, PLC and the scope of the definition is the
                  same as the definition of “Parties” contained in Local Rule 26.3 of the Local
                  Rules. Subsidiaries shall include, but not be limited to, Arab Bank
                  (Switzerland) Limited, Arab Bank Australia Limited, Europe Arab Bank
                  plc, Islamic International Arab Bank plc, Arab Sudanese Bank Ltd, Arab
                  Tunisian Bank, Arab Bank – Syria, Al Arabi Investment Group (AB Invest)
                  LLC, Arab National Leasing Company LLC, Al Niser Al Arabi Insurance
                  Co. plc, Al Arabi Investment Group Company – Palestine, Turkland Bank,
                  Oman Arab Bank, Arab National Bank, Arabia Insurance Co. and
                  Commercial Building Co.




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            n.    “You” and “Your” refer to Defendant and its directors, officers, agents,
                  employees, representatives, subsidiaries, managing agents, affiliates, or
                  investigators, or its attorneys or their agents, employees, representatives or
                  investigators.

            o.    “Complaints” refers to the operative complaints in the above-captioned
                  actions presently pending before this Court against Arab Bank, PLC (Miller
                  v. Arab Bank, Plc, 18-cv-2192 (BMC)(PK), and Pam v. Arab Bank, Plc, 18-
                  cv-4670 (BMC)(PK)).

            p.    “Documents concerning an account maintained at Arab Bank” means all
                  documents relating to the account, including, but not limited to, all account
                  opening documentation, all “Know Your Customer” (including enhanced
                  due diligence pursuant to 31 CFR § 1010.610) data created concerning the
                  accountholder, all account statements, all cancelled checks and deposit
                  slips, all documentation created or received that indicate funds transfers into
                  or out of the account, all communications by the accountholder to Arab
                  Bank, all communications by Arab Bank to the accountholder, and all
                  communications by Arab Bank, whether internal or external, concerning the
                  account or the accountholder.

            q.    “Saudi Committee” means the Saudi Committee in Support of the Intifada
                  Al Quds or Saudi Committee for the Relief of the Palestinian People a/k/a
                  Al-Lajna al-Saudiah li-Ighathat al-Sha’ab al-Falastini a/k/a ‫ﺍﻟﻠﺟﻧﺔ ﺍﻟﺳﻌﻭﺩﻳﺔ‬
                  ‫ﻻﻏﺎﺛﺔ ﺍﻟﺷﻌﺏ ﺍﻟﻔﻠﺳﻁﻳﻧﻲ‬, as described in paragraph 33 of the Declaration of
                  Shukry Bishara dated November 11, 2004 (“Bishara Declaration”), filed in
                  support of Arab Bank’s motion to dismiss in Linde v. Arab Bank, Plc, 04-
                  cv-2799 (BMC)(PK).

            r.    “Al Ansar” means the Al-Ansar Charitable Society, as described in
                  paragraphs 579, 586-87 and 592-93 of the Miller Amended Complaint.

            s.    “Second Intifada” means the Al Aqsa Intifada or Intifada Al Quds
                  commenced on or about September 29, 2000 within the geographic area of
                  the State of Israel and areas controlled by the Palestinian Authority and
                  HAMAS, i.e., the West Bank and Gaza Strip. The Second Intifada had no
                  official ending date, but is generally considered to have concluded at the
                  end of 2004.

            t.    “HAMAS” means Harakat al-Muquawama al-Islamiyya or Islamic
                  Resistance Movement as well as any persons acting for or on behalf of such
                  entity, and persons who are members, directors, employees, operatives or
                  agents of such entity. HAMAS also means entities, including without
                  limitation zakat committees and charitable societies, that are alter egos or
                  controlled by HAMAS.




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                u.     “Palestinian Territories” means the geographic area controlled by the
                       Palestinian Authority and HAMAS, i.e., the West Bank and Gaza Strip.

                v.     “Martyr” means a person killed as a result of a violent confrontation with
                       Israeli security forces commonly referred to in Arabic as a “Shahid” which,
                       in terms of this document request, refers to persons deemed or designated
                       martyrs or “Shuhada” by the Palestinian Authority, HAMAS, the Saudi
                       Committee or Al Ansar.

                w.     “Suicide Bomber” means a person who kills or attempts to kill other persons
                       by detonating explosives concealed on his or her body and loses or risks
                       losing his or her life by doing so. A Suicide Bomber is referred to in Arabic
                       as an “ishtishhadi.”

                x.     “Generated” means written, typed, assembled, created by a computer
                       program or otherwise originating from or at the behest of the person or
                       entity that created the document or other thing which is the subject of the
                       request.

                y.     “SDGT” means an individual or entity designated pursuant to Executive
                       Order 13224 by the U.S. government as a Specially Designated Global
                       Terrorist.

                z.     All references herein to Bates numbers (e.g., ABPLC211999) refer to
                       documents produced by Arab Bank to plaintiffs in Linde v. Arab Bank, Plc,
                       04-cv-2799 (BMC)(PK) bearing those Bates numbers.

                                        INSTRUCTIONS

         1.     Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these Document
 Requests shall be deemed to be continuing in nature so that if Defendant, its directors, officers,
 employees, agents, or any person acting, or purporting to act, on its behalf subsequently discovers
 or obtains possession, custody or control of any Document previously requested or required to be
 produced, Defendant shall promptly make such Document available.

         2.     In producing Documents and other materials, You are to furnish all Documents or
 things in Your possession, custody or control, regardless of whether such Documents or materials
 are possessed directly by You or Your directors, officers, agents, employees, representatives,
 subsidiaries, managing agents, affiliates, or investigators, or by your attorneys or their agents,
 employees, representatives or investigators.

        3.      In producing Documents, You are to produce the original of each Document
 requested, together with all non-identical copies and drafts of such Documents. If the original of
 any Document cannot be located, a copy shall be produced in lieu thereof, and shall be legible and
 bound or stapled in the same manner as the original.




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         4.     If any requested Document or thing cannot be produced in full, You are to produce
 it to the extent possible, indicating which Document, or portion of such Document, is being
 withheld, and the reason that Document is being withheld.

          5.     Documents not otherwise responsive to these Document Requests shall be
 produced if such Documents mention, discuss, refer to, or explain the Documents that are
 implicated by these Document Requests, or if such Documents are attached to Documents
 implicated by these Document Requests and constitute routing slips, transmittal memoranda,
 letters, cover sheets, comments, evaluations or similar materials.

       6.       All Documents shall be produced in the same order as they are kept or maintained
 by You in the ordinary course of Your business.

        7.     All Documents shall be produced in the file folder, envelope or other container in
 which the Documents are kept or maintained by You. If for any reason the container cannot be
 produced, produce copies of all labels or other identifying marks.

         8.     Documents shall be produced in such fashion as to identify the department, branch
 or office in whose possession they were located and, where applicable, the natural person in whose
 possession they were found and the business address of each Document’s custodian(s).

        9.      Documents attached to each other should not be separated.

         10.    If a Document once existed and has subsequently been lost, destroyed, or is
 otherwise missing, please provide sufficient information to identify the Document and state the
 details concerning its loss.

        11.     In responding to these Document Requests You are to include Documents: (a)
 obtained from witnesses who gave information to any governmental agency or investigatory body;
 (b) that constitute or concern testimony or summaries of testimony or other statements in
 connection with any governmental agency or investigatory body proceedings or investigations; or
 (c) obtained on Your behalf by counsel in preparing for testimony or interviews before any
 governmental agency or investigatory body.

         12.    If You claim the attorney-client privilege or any other privilege or work product
 protection for any Document, You shall provide a detailed privilege log that contains at least the
 information required by Local Rule 26.2(a)(2)(A) of the Local Rules for each Document that You
 have withheld.

        13.    Unless a different time period is specified, the relevant time period is January 1,
 1998 through December 31, 2004 (the “Relevant Time Period”).




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           JURISDICTIONAL LIMITATIONS OF DOCUMENTS REQUESTED

        For purposes of the Documents requested below, Arab Bank need only produce responsive
 records that are or were physically present in the United States, the Palestinian Territories or
 Lebanon.

                                 DOCUMENTS REQUESTED

         1.    All Documents concerning the account of senior HAMAS leader Osama Hamdan
 at the Al-Mazra’a branch in Beirut, Lebanon, Account # 3-810-622473-0330, that was used by
 HAMAS to solicit contributions on its website www.palestine-info.com, including all
 communications concerning the decision to return the balance in the account to Osama Hamdan.

     2.     All Documents concerning accounts maintained at Arab Bank by the following
 HAMAS leaders, operatives and agents:

               a.      Ahmed Yassin a/k/a Ahmad Yasine (see, e.g., ABPLC211999);
               b.      Halima Yassin (Ahmed Yassin’s wife) (see, e.g., ABPLC212107);
               c.      Khalil Hasan Yassin (Ahmed Yassin’s nephew) (see, e.g., ABPLC212064);
               d.      Abd al-Hakim Ali al-Mana’ameh (Ahmed Yassin’s bodyguard) (see, e.g.,
                       ABPLC212158);
               e.      Osama Hamdan (all Documents not encompassed by Request No. 1 above);
               f.      Ismail Abd Al Salam Haniyeh a/k/a Ismail Haniya (see, e.g.,
                       ABPLC195876);
               g.      Ismail Abu Shanab (see, e.g., ABPLC212138);
               h.      Salah Shehadeh (see, e.g., ABPLC212108);
               i.      Layla Khamis Yusuf Safira (Salah Shehadeh’s wife) (see, e.g.,
                       ABPLC021783);
               j.      Abbas al-Sayed (see, e.g., ABPLC211884);
               k.      Huda Ahmad Darwazah (Salah al-Din Darwazah’s wife) (see, e.g.,
                       ABPLC212104);
               l.      Muhammad Shama (see, e.g., ABPLC211951);
               m.      Ghazi Hamed (see, e.g., ABPLC211868);
               n.      Jamal Salim (see, e.g., ABPLC211808);
               o.      Muna Mansur, the wife of HAMAS leader Jamal Mansur (see, e.g.,
                       ABPLC211930);
               p.      Riyad Husain Abdallah Abu Zaid (see, e.g., ABPLC211928);
               q.      Mahdi Shaker al-Hanbali (see, e.g., ABPLC211856);
               r.      Baha al-Din al-Madhun (see, e.g., ABPLC212009);
               s.      Abd al-Khaleq al-Natsheh (see, e.g., ABPLC195871);
               t.      Khaled Muhammad Amin al-Haj (see, e.g., ABPLC212037);
               u.      Nada Jamal al-Jayousi (see, e.g., ABPLC212055);
               v.      Asma’ Muhammad Suliman Saba’ana, wife of Jamal Abd al-Salam Abu al-
                       Hija (see, e.g., ABPLC010758);
               w.      Lateefah Naji Othman Chawa (see, e.g., ABPLC212188);
               x.      Khaled Ghazi Daud al-Masri (see, e.g., ABPLC211949);



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               y.     Abd al-Salam Ismail Haniyeh (see, e.g., ABPLC211961);
               z.     Khaled Ibrahim Al Abd Al Quqa (see, e.g., ABPLC212014);
               aa.    Khalil Mohamad Amin El Haj (see, e.g., ABPLC212061);
               bb.    Mohamed Redwan Ibrahim Yasine (see, e.g., ABPLC212006); and
               cc.    Rabah Hayel Takrouri (see, e.g., ABPLC211970).

        3.     All Documents concerning accounts at Arab Bank or funds transfers by Arab Bank
 concerning the following HAMAS leaders and operatives:

               a.     Ayman Anwar Ahmad Arafat (see, e.g., ABPLC212149);
               b.     Mohamad Saleh Taha (see, e.g., ABPLC212099);
               c.     Omar Ali Abd al-Al (see, e.g., ABPLC211926);
               d.     Sabah Saeed Hasan Dar Khalil (see, e.g., ABPLC211913);
               e.     Sayed Abu Msameh (see, e.g., ABPLC211983);
               f.     Omar Saleh Muhammad Faiq Sharif;
               g.     Firas Fawzi Salim Faydi;
               h.     Khaled Dib Hasan Abu Hamd;
               i.     Muhammad Hasan Arman;
               j.     Walid Abd al-Aziz Anjas;
               k.     Wa’el Mahmud ‘Muhammad Ali’ Qasem;
               l.     Ala al-Din Mahmud Muhammad Abasi;
               m.     Wisam Sa’id Musa Abasi;
               n.     Muhammad Ishaq Awda;
               o.     Jamal al-Tawil;
               p.     Ibrahim Jamil Mar’i Hamed;
               q.     Abdalla Ghaleb Abdalla Barghuthi;
               r.     Farid Salah Na’im Atrash;
               s.     Ayad Yusuf Abu Hilal;
               t.     Aziz Yusuf Ins Abu Hilal;
               u.     Abd el-Mu’ati Shabana;
               v.     Muhammad Fathi Farhat a/k/a Mohammed Farhath;
               w.     Abd Allah Qawasmeh;
               x.     Izz al-Din Khader Shams al-Din Misk;
               y.     Ahmad Othman Muhammad Badr;
               z.     Sayid Isa Jabar Siam;
               aa.    Bilal Sub Laban; and
               bb.    Amar Nasser al-Din.

        4.      All Documents concerning accounts maintained at Arab Bank by or for the
 following HAMAS zakat committees, Islamic societies and social institutions or transfers
 involving those committees, societies and institutions:

               a.     Al-Mujama Al-Islami – Gaza (the Islamic Center – Gaza) (see, e.g.,
                      ABPLC212510);

               b.     Al-Jam’iya Al-Islamiya – Gaza (the Islamic Society – Gaza) (see, e.g.,
                      ABPLC212752);


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               c.     Al-Salah Islamic Society– Gaza (Jam’iyat al-Salah al-Islamiya – Gaza)
                      (see, e.g., ABPLC212336);

               d.     Islamic Charitable Society – Hebron (Al-Jam’iya al-Khiriya al-Islamiya al-
                      Khalil) (see, e.g., ABPLC212755);

               e.     Jenin Zakat Committee (Lajnat al-Zakah Jenin) (see, e.g., ABPLC211751);

               f.     Nablus Zakat Committee          (Lajnat   al-Zakah     Nablus)   (see,   e.g.,
                      ABPLC211766);

               g.     Al-Tadamun Charitable Society – Nablus (Jam’iyat Al-Tadamun al-Khiriya
                      al-Islamiya Nablus) (see, e.g., ABPLC212662);

               h.     Tulkarem Zakat Committee (Lajnat al-Zakah Tulkarem) (see, e.g.,
                      ABPLC212314);

               i.     Ramallah – al-Bireh Zakat Committee (Lajnat al-Zakah Ramallah wal-
                      Bireh) (see, e.g., ABPLC212303);

               j.     Al-Islah Charitable Society – Ramallah & Al-Bireh (Jam’iyat al-Islah al-
                      Khiriya al-Ajthamiya Ramallah wal-Bireh) (see, e.g., ABPLC212301);

               k.     Al Nur Prisoner Society - Gaza, a/k/a the Charity Society for Caring for the
                      Prisoners and the Martyrs’ Families (Jam’iyat Al-Nur al-Khairiya L-Ri’ayat
                      al-Asra Wa-Usar al-Shuhada) (see, e.g., ABPLC212928); and

               l.     Al-Huda Women Society (Jam’iyat al-Huda al-Nisa’iya).

        5.      All Documents concerning accounts maintained at Arab Bank by or transfers
 involving the following HAMAS fundraising organizations designated as SDGTs:

               a.     Union of Good a/k/a I’tilaf al-Khayr, including but not limited to Arab Bank
                      account #002850/811/9 at the Beirut, Lebanon branch;

               b.     Holy Land Foundation for Relief and Development;

               c.     Interpal a/k/a Palestine Relief and Development Fund;

               d.     CBSP a/k/a Comité de Bienfaisance et de Secours Aux Palestiniens;

               e.     Al Aqsa Foundation; and

               f.     Welfare Association for Palestinian and Lebanese Families a/k/a Waqifiya
                      Ri’aya al-Usra al-Filistinya wa al-Lubnanya.

         6.     All Documents concerning transactions processed by Arab Bank for or on behalf
 of the Saudi Committee for the benefit of the families of the following HAMAS Suicide Bombers,



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 including, but not limited to, transaction records, account statements, account opening
 documentation, communications concerning the transactions and/or recipients, receipts issued by
 Arab Bank to account holders and/or payees, and death certificates, photographic identification
 and/or certificates of martyrdom for the individuals that qualified the account holder or payee to
 receive payment:

                1.     Fatima ‘Ali Hasan Halabiya (see, e.g., ABPLC026358, ABPLC030875);
                2.     Atallah Yusuf ‘Abd Al-Jabbar ‘Amer (see, e.g., ABPLC023947);
                3.     Shuhayl Ahmad Isma’il el-Masri (see, e.g., ABPLC024025);
                4.     Muhammad Sa’id Ahmad Abu Safi (see, e.g., ABPLC018097);
                5.     Mahmud Iyada Adi Salah Al-Din (see, e.g., ABPLC026374);
                6.     Nabil Ibrahim Saleh Dar Jabar (see, e.g., ABPLC026286);
                7.     Arafat Muhammad Suliman Ashur (see, e.g., ABPLC021770);
                8.     Bashir Khalil Ibrahim al-Ma’sawabi (see, e.g., ABPLC021732);
                9.     Talal Mustafa Ibrahim Abu Kweik (see, e.g., ABPLC021661);
                10.    Muhi al-Din Kamel Saleh Habeisheh (see, e.g., ABPLC030707);
                11.    Nuha Muhammad Taysir Mustafa al-Nadher (see, e.g., ABPLC021746);
                12.    Hasan Hussein Hassan Hutari (see, e.g., ABPLC023935);
                13.    Yusuf Muhammad Yusuf Hamad (see, e.g., ABPLC030821);
                14.    Nifin Yusuf Muhammad al-Ajrami (see, e.g., ABPLC026223);
                15.    Yusri Muhammad al-Tawil (see, e.g., ABPLC020316);
                16.    Family of the martyr Muhammad Abd Rabo Imad (see, e.g.,
                       ABPLC030783);
                17.    Ibrahim Mahmud Abd al-Salam Ashur (see, e.g., ABPLC026234);
                18.    Muhammad Abd Rabo Ibrahim Fayad (see, e.g., ABPLC030578);
                19.    Muhammad Subhi Mahmud Ahmad Sayid (see, e.g., ABPLC030655);
                20.    Kamel Sa’id Abdalla Zbeidi (see, e.g., ABPLC023867);
                21.    Umar Hamdan Ahmad Alayan (see, e.g., ABPLC024010);
                22.    Hasan Muhammad Hasan Abu Nasr (see, e.g., ABPLC021735);
                23.    Yaser ‘Arafat Khalil Ansiwi (see, e.g., ABPLC010760); and
                24.    Zuhira Ahmad Faleh Abu Hijla (see, e.g., ABPLC023921).

         7.      All Documents concerning transactions processed by Arab Bank for or on behalf
 of the Saudi Committee for the benefit of families of the following HAMAS “Martyrs,” including,
 but not limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:

                1.     Muna Salim Saleh Mansur (see, e.g., ABPLC023919);
                2.     Shafiq ‘Ali Suliman Abu Al-Rus (see, e.g., ABPLC030780);
                3.     Muhammad Abdallah Salem Halas (see, e.g., ABPLC026216);
                4.     Muhammad abd al-Hadi Aqal (see, e.g., ABPLC026421);
                5.     Fawzi Mahmud Ahmad Abd al-Ghani (see, e.g., ABPLC026290);
                6.     Rabi’ Muhammad Saleh al-Batash (see, e.g., ABPLC026220);



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             7.    Ilfat Jaber Saleh al-Razayna and Dib al-Razayna (see, e.g.,
                   ABPLC028692);
             8.    Mustafa Fuad Khalil al-Dahshan (see, e.g., ABPLC026241);
             9.    Hamdi Ahmad al-Masri and Rasmiya Hasan al-Masri (see, e.g.,
                   ABPLC028678);
             10.   Nizar Abd al-Qader Riyan (see, e.g., ABPLC030565);
             11.   Ahmad Salem Muhammad Halas (see, e.g., ABPLC030602);
             12.   Fayez Mustafa Muhammad Shehada (see, e.g., ABPLC030614);
             13.   Abd al-Ghani Muhammad Jud’an Abu Jamus (see, e.g., ABPLC026255);
             14.   Atiwi Hamdan Salem Abu Rizq (see, e.g., ABPLC026237);
             15.   Family of the martyr Yaser Husni Al-Masdar (see, e.g., ABPLC030627);
             16.   Rasmiya Ismail Ibrahim Asida (see, e.g., ABPLC026372);
             17.   Naser ‘Abd Al-Salam Ahmad Gazal (see, e.g., ABPLC030773);
             18.   Razan Husni Hilmi Halawa (see, e.g., ABPLC026275);
             19.   Lina Hafez Muhammad Sawaliha (see, e.g., ABPLC030714);
             20.   Wafaa’ Ibrahim Jaber al-Ghul (see, e.g., ABPLC026403);
             21.   Faten Hasan Abd al-Qader Taqi (see, e.g., ABPLC030713);
             22.   Lafi Yusuf Hamed al-Akhras and Khatam (see, e.g., ABPLC026179);
             23.   Ali Abd al-Qader Qassem Atiq (see, e.g., ABPLC030794);
             24.   Tahrir Atalla Shaker Marshud (see, e.g., ABPLC030649);
             25.   Ayman Yusuf Abd al-Rahman Abd al-Wahab (see, e.g., ABPLC030566);
             26.   Fawziya Ali Mustafa Abu Hijla (see, e.g., ABPLC026330);
             27.   Abd al-Rahim Abd al-Razaq Tubasi (see, e.g., ABPLC030643);
             28.   Taysir Husein Ahmad Fayed (see, e.g., ABPLC030941);
             29.   Mahmud Yusuf Abu al-Hija (see, e.g., ABPLC030940);
             30.   Inam Hilala Abd al-Rahim Aysha (see, e.g., ABPLC026334);
             31.   Salim Helmi Salim ‘Abd Al-Haq (see, e.g., ABPLC023973);
             32.   Latifa Ahmad Muhammad Subh (see, e.g., ABPLC023879);
             33.   Awatif Suliman Hasan Abu Bakra (see, e.g., ABPLC018098);
             34.   Hasan Khader Mustafa Maluh (see, e.g., ABPLC030719);
             35.   Nimer ‘Abd Husein Mufaraja (see, e.g., ABPLC030729);
             36.   Jamal Ali Suliman Naijem (see, e.g., ABPLC030671);
             37.   Family of the Martyr Ibrahim Abd al-Karim Bani Awda (see, e.g.,
                   ABPLC011605);
             38.   Ali Yusuf Fayed (see, e.g., ABPLC026266);
             39.   Mahmud Khadr Muhammad (see, e.g., ABPLC030860);
             40.   Muhammad Ahmad Hasan Abu Hanud (see, e.g., ABPLC026390);
             41.   Ali Muhammad Ahmad Hilwa (see, e.g., ABPLC030932);
             42.   Hadil Khalil Ismail Hashayka (see, e.g., ABPLC026336);
             43.   Mansur Hasan Al-Hadiri (see, e.g., ABPLC026377);
             44.   Hussein Salem Amtir abu Dib (see, e.g., ABPLC026189);
             45.   Muhammad Saleh Musa Kamil (see, e.g., ABPLC030690);
             46.   Fawzi Salim Nayef Shabir and his son Zaher (see, e.g., ABPLC026418);
             47.   Mahmud Mas’ud Muhammad Abu Al-Sebah (see, e.g., ABPLC030761);
             48.   Rabah Darwish Husein Zaqut (see, e.g., ABPLC023891);
             49.   Sabah Abd al-Karim Yusuf al-Shalabi (see, e.g., ABPLC030922);



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                50.    Amal Abd al-Karim Khalil Bishawi (see, e.g., ABPLC023951);
                51.    Taysir Husein Ahmad Fayed (see, e.g., ABPLC030941);
                52.    Nawal Muhammad Ahmad Musharaqa (see, e.g., ABPLC030972);
                53.    Omar Salim Ahmad Hawashin (see, e.g., ABPLC030919);
                54.    Jamal Sabri Abd al-Hamid Sweidan (see, e.g., ABPLC021761);
                55.    Rajaa Mahmud Nimer Abu al-Hija (see, e.g., ABPLC026319);
                56.    Isa Muhammad Mahmud Waishahi (see, e.g., ABPLC030979);
                57.    Muhammad Said Hamed Sawafteh (see, e.g., ABPLC030990);
                58.    Maysar Muhammad Hamed al-Surakji (see, e.g., ABPLC030888); and
                59.    Muhammad Shehada Ibrahim Tafesh (see, e.g., ABPLC021796).

         8.      All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the families of the following HAMAS terrorists who were
 incarcerated in Israeli prisons, including, but not limited to, transaction records, account
 statements, account opening documentation, communications concerning the transactions and/or
 recipients, receipts issued by Arab Bank to account holders and/or payees, and death certificates,
 photographic identification and/or proof of incarceration for the individuals that qualified the
 account holder or payee to receive payment:

                1.     Samir Subhi Salah al-Shawa (see, e.g., ABPLC011365);
                2.     Amiya Ahmad Hafez al-Taher (see, e.g., ABPLC012363);
                3.     Mina Salim Saleh Mansur (see, e.g., ABPLC010764);
                4.     Ni’ama Nuhad Khalil Dukhan (see, e.g., ABPLC11342);
                5.     Abd al-Fatah Hasan Dukhan (see, e.g., ABPLC021731);
                6.     Suad Suliman Istiti (see, e.g., ABPLC012447);
                7.     Saleh Abdallah al-Barghuthi (see, e.g., ABPLC012366);
                8.     Maysar Muhammad Hamed al-Surakji (see, e.g., ABPLC012415);
                9.     A’isha Masah Haniya (see, e.g., ABPLC011398);
                10.    Muna Fuad Khaled Najib (see, e.g., ABPLC010968);
                11.    Rim Ibrahim Hamdan Abu al-Al (see, e.g., ABPLC011772);
                12.    Maryam Muhammad Yusuf Farhat (see, e.g., ABPLC011170);
                13.    Hanaa’ Khamis Shehada Silmi (see, e.g., ABPLC011101);
                14.    Fadel Khaled Husein Abu Hin (see, e.g., ABPLC011146);
                15.    Fahed Yusuf Abu Atiya (see, e.g., ABPLC012494);
                16.    Ja’afar Sa’id Yusuf Zuyud (see, e.g., ABPL012413);
                17.    Rida Abdalla Isma’il al-Sanwar (see, e.g., ABPLC011177);
                18.    Ali Ahmad Ayub (see, e.g., ABPLC012491);
                19.    Samah Abd al-Hadi Abu Shawqa (see, e.g., ABPLC011771);
                20.    Isma’il ‘Abd al-Rahman Ahmad al-Ghanimat (see, e.g., ABPLC011468);
                21.    Sahr Muhammad ‘Ashur (see, e.g., ABPLC010730);
                22.    Fatima Ahmad Muhammad Hiles (see, e.g., ABPLC011056);
                23.    Zaynab Sha’ban Ahmad Taha (see, e.g., ABPLC010980);
                24.    Basel Muhammad Shafiq al-Qawasmeh (see, e.g., ABPLC010743);
                25.    Muhammad Salim Said Abu Hasna (see, e.g., ABPLC011384);
                26.    Kamel Ya’qub Ta el-Ja’bari (see, e.g., ABPLC012711);
                27.    Aziz Yusuf Ans abu Hilal (see, e.g., ABPLC011367);



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             28.   Nizam Ahed Sa’id Asfur (see, e.g., ABPLC011427);
             29.   Wafaa’ Ibrahim al-Ghul (see, e.g., ABPLC011812);
             30.   Subhiya Saber Hussein (Hasan) abu Khalifa (see, e.g., ABPLC012187);
             31.   Hiyam Sa’id Khalil (see, e.g., ABPLC010805);
             32.   Hanan Muhammad Saleh (see, e.g., ABPLC011755);
             33.   Dalal Muhammad Isa el-Zaban (see, e.g., ABPLC011220);
             34.   Laila Khalil Ali al-Halabi (see, e.g., ABPLC011790);
             35.   Shams Ahmad Mahmud al-Baluji (see, e.g., ABPLC011015);
             36.   Abir Fayiz Ali Ramana (see, e.g., ABPLC011376);
             37.   Abd al-Rauf Muhammad al-Mabhuh (see, e.g., ABPLC011401);
             38.   Khadija abd al-Qader Musleh Salame (see, e.g., ABPLC011388);
             39.   Fatima Muhammad ‘Abd al-Fatah Naqib (see, e.g., ABPLC010871);
             40.   Halima Ahmad Abu Fara (see, e.g., ABPLC010863);
             41.   Asma’ Muhammad Suliman Saba’ana (see, e.g., ABPLC010758);
             42.   Sinyura Sha’ban Ahmad Abdalla (see, e.g., ABPLC010936);
             43.   Dalal Ali Hasan al-Baz (see, e.g., ABPLC011065);
             44.   Wajiha ‘Abd al-Halim Rafiq Samaru (see, e.g., ABPLC010751);
             45.   Wajida Abd al-Rahman Hamad al-Sawiti (see, e.g., ABPLC019089);
             46.   ‘Abd al-Mu’iz Zain al-Din Saleh ‘Omar (see, e.g., ABPLC010892);
             47.   Randa Isma’il Ahmad Aqel (see, e.g., ABPLC011081);
             48.   Ismail Abd al-Jalil Ismail Ramadan (see, e.g., ABPLC010956);
             49.   Samiya Jamal Musleh;
             50.   Abd el-Qader Ibrahim Mahmud Hijaz (see, e.g., ABPLC012685);
             51.   Muzahira Ahmad Farhan al-Sharbati (see, e.g., ABPLC012465);
             52.   Maryam Dawud Abdalla al-Ghanimat (see, e.g., ABPLC010690);
             53.   Maisun Husein Abu Zaina (see, e.g., ABPLC010681);
             54.   Fadel Murshid Hamdan Baker (see, e.g., ABPLC012439);
             55.   Khulud Faisal ‘Abd al-Rahman al-Shalabi (see, e.g., ABPLC011499);
             56.   Afaf Muhammad Abu Armila (see, e.g., ABPLC012411);
             57.   Rabi’a Fayez Muhammad Sa’id (see, e.g., ABPLC012367);
             58.   Firas Wa’el Taleb Abu Sharakh (see, e.g., ABPLC012746);
             59.   Rabi’aa Fayiz Muhammad Sa’id (see, e.g., ABPLC012367);
             60.   Suhair Ibrahim al-Barghuthi (see, e.g., ABPLC012630);
             61.   Fatina Saleh Muhammad Sa’ada (see, e.g., ABPLC011237);
             62.   Muhammad Taher Naser (see, e.g., ABPLC011276);
             63.   Naima Ahmad Muhammad Zarab (see, e.g., ABPLC011334);
             64.   Sara Mahmud abd al-Hadi Talahmeh (see, e.g., ABPLC011299);
             65.   Musa’ed Saleh al-Arabid (see, e.g., ABPLC011768);
             66.   Munzir Muhammad Taysir Husein Ramadan (see, e.g., ABPLC012393);
             67.   Halima Abd al-Qader Yaqub al-Asta (see, e.g., ABPLC011278);
             68.   Almatha Abd al-Hafit’ Ibrahim Jamjum (see, e.g., ABPLC011039);
             69.   Nazha Khalil Hasan Ziyada (see, e.g., ABPLC011128);
             70.   Halima Hamuda Ayd Shabir (see, e.g., ABPLC011866);
             71.   Wafaa Fawzi al-Abd Dawidar (see, e.g., ABPLC011136);
             72.   Zahira Mustafa Ahmad Asida (see, e.g., ABPLC012456);
             73.   Nidal Ahmad Mahmud Hutari (see, e.g., ABPLC010959);



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                74.     Fatima ‘Abd al-Halim ‘Abd al-Mu’ti Abu Hamdiya (see, e.g.,
                        ABPLC010873);
                75.     Rasmiya Mahmud Abdalla Zaqut (see, e.g., ABPLC011764);
                76.     Tahrir Shaaban Muhammad al-Sharif (see, e.g., ABPLC011087);
                77.     Raeda Mustafa Hasan Mushtaha (see, e.g., ABPLC010971);
                78.     Khalil Abd al-Haq Sayid Amira (see, e.g., ABPLC011547);
                79.     Safiya Abd al-Qader Dudin (see, e.g., ABPLC012445);
                80.     Ikram Abd Salame Harez (see, e.g., ABPLC011204);
                81.     Abala Ibrahim Saleh Abu Shamala (see, e.g., ABPLC011102);
                82.     Isma’il Ibrahim al-Dirawi (see, e.g., ABPLC021747);
                83.     Rida Abdalla Isma’il al-Sinwar (see, e.g., ABPLC011116);
                84.     Muna Salman Hussein Hassan;
                85.     Lina Tahsin Muhammad Hamed (see, e.g., ABPLC011525); and
                86.     Abdalla Khalil Abdalla Abu al-Rab (see, e.g., ABPLC012483).

         9.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the following HAMAS operatives, including, but not limited
 to, transaction records, account statements, account opening documentation, communications
 concerning the transactions and/or recipients, receipts issued by Arab Bank to the HAMAS
 operatives, and death certificates, photographic identification and certificates of martyrdom and/or
 proof of incarceration for the individuals that qualified HAMAS operatives to receive payment:

                1.      Ahmad Sa’id Khalil al-Ja’bari (see, e.g., ABPLC019308);
                2.      Sabah al-Ja’bari (see, e.g., ABPLC011787);
                3.      Naser Sami Abd al-Razeq Yataima (see, e.g., ABPLC015894);
                4.      Murad Ali al-Qawasmeh (see, e.g., ABPLC017093);
                5.      Abd al-Halim Saqer Fayumi (see, e.g., ABPLC013138);
                6.      Ali Juma Ahmad Juma (see, e.g., ABPLC013273);
                7.      Ibrahim Ahmad Khaled al-Muqadama (see, e.g., ABPLC019283);
                8.      Mahmud Saadi Aliwa (see, e.g., ABPLC013462);
                9.      Muhammad Jihad al-Hayek (see, e.g., ABPLC013304);
                10.     Muhanad Talal Mansur Sharim (see, e.g., ABPLC015882);
                11.     Mumin Omar Maghari (see, e.g., ABPLC013323);
                12.     Amar Yusuf Kalbuna (see, e.g., ABPLC016946);
                13.     Mansur Ahmad abu Hamid (see, e.g., ABPL017709); and
                14.     Ra’ed Abd el-Hamid Abd el-Razaq Misk (see, e.g., ABPL189273).

         10.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Al Ansar Society for the benefit of the families of martyrs, including, but not limited to, transaction
 records, account statements, account opening documentation, communications concerning the
 transactions and/or recipients, receipts issued by Arab Bank to account holders and/or payees, and
 death certificates, photographic identification and/or certificates of martyrdom for the individuals
 that qualified the account holder or payee to receive payment:

                1.      Muhanad Mahmoud Ibrahim Abu Zor;
                2.      Khaled Nabil Khamis Mohammed Sawalha;



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               3.      Ibrahim Yasser Ibrahim Naji Khalil;
               4.      Amjad Sulieman Hassan Hussein Abu Salim;
               5.      Khaldoun Walid Aref Mohammed Sha'ablu;
               6.      Omar Mohhamed Awad Abu Al-Rob;
               7.      Yusuf Mohammed Rareb Hamdan Abu Al-Rob;
               8.      Abd Al-Karim Omar Mohammed Yusuf Ahmed;
               9.      Nazir Muhammad Mahmud Hamad;
               10.     Izz al-Din Shuhayl Ahmad al-Masri;
               11.     Muhammad Ahmad Halas;
               12.     Bilal Fayez Mustafa Shehada;
               13.     Muhammad Abd al-Ghani Muhammad Abu Jamus;
               14.     Imad Atiwi Abu Razaq;
               15.     Abd al-Rahman Naser Ghazal;
               16.     Ahmad Abd al-Qader Atiq;
               17.     Muhammad Hasan Ahmad al-Fayed;
               18.     Amjad Hussein Ahmad al-Fayed;
               19.     Khaled Jamal Ali Najem;
               20.     Mahmud Ali al-Hilwa;
               21.     Saleh Muhammad Saleh Kamil;
               22.     Mustafa Abd al-Rahim Yusuf al-Shalabi;
               23.     Muhammad Khalil Atiya Musharaqa;
               24.     Muhammad Omar Salim Hawashin;
               25.     Munir Issa Wishahi;
               26.     Munqidh Muhammad Sawafteh; and
               27.     Yaser Husni Al-Masdar.

        11.     All Documents concerning listings or databases provided to, or maintained by, Arab
 Bank containing the names of Palestinians in Israeli custody, Palestinian “Martyrs,” Suicide
 Bombers or other persons killed or injured during the Second Intifada, the dates and manner of
 death or injury of any such individuals, payments made to the families of such persons or Arab
 Bank contacts with the Saudi Committee, Al Ansar or any organization listed in Request No. 4
 regarding such listings and databases, including, but not limited to, Documents which identify
 Arab Bank employees with knowledge of such listings and databases.


 Date: July 22, 2019

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